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                Conference Code of Conduct                                                                                        DEF CON Sites
                    Last updated 3.6.15

                DEF CON provides a forum for open discussion between participants, where
                radical viewpoints are welcome and a high degree of skepticism is expected.                        Forums          Groups          Media       InfoCon.org
                However, insulting or harassing other participants is unacceptable. We want                                                        Server
                DEF CON to be a safe and productive environment for everyone. It’s not
                about what you look like but what’s in your mind and how you present                                                 The Goods
                yourself that counts at DEF CON.

                We do not condone harassment against any participant, for any reason.
                Harassment includes deliberate intimidation and targeting individuals in a
                                                                                                                       Official Swag             Conference Recordings
                manner that makes them feel uncomfortable, unwelcome, or afraid.

                Participants asked to stop any harassing behavior are expected to comply
                                                                                                                                    Past Media
                immediately. We reserve the right to respond to harassment in the manner we
                deem appropriate, including but not limited to expulsion without refund and
                referral to the relevant authorities.
                                                                                                                 Torrents Page          DEF CON             InfoCon.org
                This Code of Conduct applies to everyone participating at DEF CON - from                                               Media Server
                attendees and exhibitors to speakers, press, volunteers, and Goons.

                Anyone can report harassment. If you are being harassed, notice that
                someone else is being harassed, or have any other concerns, you can
                contact a Goon, go to the registration desk, or info booth.

                Conference staff will be happy to help participants contact hotel security, local
                law enforcement, or otherwise assist those experiencing harassment to feel
                safe for the duration of DEF CON.

                Remember: The CON is what you make of it, and as a community we can
                create a great experience for everyone.

                                                                                                                                                  EXHIBIT 1
https://defcon.org/html/links/dc-code-of-conduct.html                                                                                                                        1/2
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               https://www.defcon.org/html/links/dc-policy.html



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